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                                                                             7/26/23
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3    Frederick Koster in Pro Per

4

5

6
                        UNITED STATES DISTRICT COURT
7                      CENTRAL DISTRICT OF CALIFORNIA
8                                             Case No. 8:22-cv-02130 JWH DFM
     NEXT VIETNAM PROJECTS
     FOUNDATION, INC., et al,
9                                             RULE 15 AMENDED
     Plaintiffs,
                                              MEMORANDUM IN OPPOSITION TO
10                                            PLAINTIFF’S MOTION TO STRIKE
                      v.
                                              DEFENDANT’S COUNTERCLAIMS
11                                            PURSUANT TO CCP 425.16
     KOSTER FILMS LLC, and
12   FREDERICK KOSTER, et al,                 Date:          August 18, 2023
     Defendants.                              Time:          9:00 AM
13                                            Courtroom: 9D
                                              District Judge: Hon John W Holcomb
14                                            Mag. Judge: Hon Douglas F McCormick

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21      1      MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
                                          PURSUANT TO 425.16
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21     2          MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1                   MEMORANDUM OF POINTS AND AUTHORITIES

2    I. INTRODUCTION

3       Plaintiffs and Counter-Defendants The Next Vietnam Projects Foundation,

4    Inc.(NVF), Radix Foundation Corp (Radix), Saigon Broadcasting Television

5    Network, Inc. (SBTN), My Van International, Inc.(My Van), Nam Phan, Carina

6    Oanh Hoang, Diep Phan, Trong Phan, Son Nguyen, Thanh Phuong Le and Minh

7    Nguyen’s (collectively, “Plaintiffs”) have filed a Motion to Strike pursuant to CCP

8    425.16 (anti-SLAPP) against Defendant and Counterclaimant Frederick Koster

9    (Koster).

10      It appears the eleven Plaintiffs based their entire anti-SLAPP premise solely on

11   the actions of only one Plaintiff, Minh Nguyen. The Plaintiffs are stating that her

12   actions of DMCA takedowns of Koster’s copyrighted film along with her

13   Cease/Desist and Demand letters (Exhibits A, B, C) are protected under the Right of

14   Free Speech.

15          • Plaintiffs do not state in their motion what the “Public Interest” was for in

16               their anti-SLAPP motion which is required by § 425.16.

17          • Plaintiffs do not specify which exact clause in § 425.16 they are justifying

18               for their motion.
19

20

21      3         MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1          • The case law for Freedom of Speech that the Plaintiffs used in their motion

2             to justify the DMCA Takedowns, Cease/Desist letters and Demand letters

3             is misleading and flawed because their referenced case law concerns

4             Registered US Copyright owners’ asserting their rights. Minh Nguyen is

5             not a copyright holder of the film. She was sending her notices in reference

6             to the Defendants who are the actual Registered US Copyright owners of

7             the film.

8     •       “The US Supreme Court has held that defamation, perjury, fraudulent

9             attempts to get money, speech actionable under the false light tort, and lies

10            that inflict severe emotional distress are all constitutionally unprotected.”

11            Garrison, 379 U.S. at 75 (defamation); Konigsberg v. State Bar of

12            Cal., 366 U.S. 36, 49 n.10 (1961) (perjury); Illinois ex rel. Madigan

13            v. Telemarketing Assocs., Inc., 538 U.S. 600 (2003) (fraud, even in

14            the context of otherwise fully protected charitable solicitations);

15            Cantrell v. Forest City Publ’g Co., 419 U.S. 245 (1974) (false light);

16            Time, Inc. v. Hill, 385 U.S. 374 (1967) (false light) ; Hustler Mag.,

17            Inc. v. Falwell, 485 U.S. 46, 56 (1988) (intentional infliction of

18            severe emotional distress)

19    •       “Lower courts have generally allowed liability or punishment for lies about

20            others’ products or property” Unelko Corp. v. Rooney, 912 F.2d 1049,
21     4       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1            1057-58 (9th Cir. 1990) (trade libel); SCO Grp., Inc. v. Novell, Inc.,

2            692 F. Supp. 2d 1287, 1296 (D. Utah 2010) (slander of title). This is

3            so even though these torts do not injure the individual dignitary

4            interests that have long justified defamation law. See Milkovich v.

5            Lorain J. Co., 497 U.S. 1, 22 (1990) (quoting with approval

6            Rosenblatt v. Baer, 383 U.S. 75, 92-93 (1966) (Stewart, J.,

7            concurring)).

8      •         The above are two quotes are from Eugene Volokh, When Are Lies

9            Constitutionally Protected?, 22-10 KNIGHT FIRST AMEND. INST. (Oct. 19,

10           2022)

11     •     Koster has contracts with Plaintiffs Minh Nguyen and Nam Pham and

12           asserts that litigation privilege does not apply to the defendants’ breach of

13           duties owed to the plaintiff. Shafer, supra, 107 Cal.App.4th 54,

14     •     Plaintiffs’ sole claim for the anti-SLAPP motion is based on the actions of
15           a single plaintiff, Minh Nguyen, therefore this anti-SLAPP motion should
16           only concern her.
17   II. THE FIRST STEP OF THE anti-SLAPP ANALYSIS
18     (A) Defendants must prove that they are being sued for “any act . . . in furtherance
19         of the person’s right of petition or free speech under the United States
20

21     5       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1          Constitution or the California Constitution in connection with a Public Issue.”

2          Cal. Civ. Proc. Code § 425.16 (2019).

3     (B) Their rights of free speech or petition must be in connection with a Public

4          Issue that includes four categories:

5             1. statements made before a legislative, executive, or judicial proceeding.

6             2. statements made in connection with an issue under consideration by

7                a governmental body.

8             3. statements made in a place open to the public or a public forum in

9                connection with an issue of public interest.

10            4. Conduct in furtherance of the exercise of free speech or petition rights

11               in connection with “a public issue or an issue of public interest.” §

12               425.16(e).

13            o In addition, "the defendant's act underlying the plaintiff's cause of

14               action must itself have been an act in furtherance of the right of petition

15               or free speech." (City of Cotati, at p. 78; accord, Equilon Enterprises, at

16               p. 66.) "

17    (C) Exhibits A, B and C clearly show that the Plaintiffs’ DMCA takedowns of

18         Koster’s copyrighted film along with their Cease/Desist and Demand Letters

19         are solely a business matter concerning money and the alleged contractual

20         obligations of Koster. There is no mention of Public Interest in these exhibits.

21     6       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1          Also, these exhibits did not occur under the referenced numbers above, 1, 2, 3.

2     (D) But even if Plaintiffs’ business communication could somehow be construed

3          for Public Interest, Plaintiffs’ anti-SLAPP motion would still be barred by way

4          of California’s Supreme Court Ruling on lawsuit, (FilmOn.com Inc. v.

5          DoubleVerify Inc., 439 P. 3d 1156 - Cal: Supreme Court 2019.)

6     •       In this case, the California Supreme Court ruled the required inquiry under

7             the catchall provision of Rule 425.16 (e)(4) involves a two-step analysis.

8            • The first step is for the Court to look at the content of the statement and

9             determine what public issue is implicated.

10           • For the second step, the California Supreme Court ruled that a statement is
11            made in connection with a public interest when it participates or furthers
12            public conversation on the issue. Context is extremely important, and
13            determination is not possible without considering the audience, the speaker,
14            and the purpose of the statement.
15    (E) Other Conditions for anti-SLAPP Law.
16         1. “Recognizing the potential chilling effects posed by an overbroad reading
17            of the anti-SLAPP statute itself, the Supreme Court has articulated a test
18            to guide courts in determining whether a claim arises from protected
19            activity. “[I]n ruling on an anti-SLAPP motion, courts should consider the
20

21     7       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1             elements of the challenged claim and what actions by defendant supply

2             those elements and consequently form the basis for liability.” (Park,

3             supra, 2 Cal.5th 1057 at p. 1063.) - Laker v. Board of Trustees of the

4             California State University et al. H044836 pg. 19.

5          2. In Flatley v. Mauro (2006) 39 Cal.4th 299, the California Supreme Court

6             held that an attorney’s letter constituted criminal extortion as a matter of

7             law and thus was unprotected by the anti-SLAPP statute.

8                       Exhibits B and C , contain threats of a criminals charges by Minh

9                       Nguyen against defendants unless they send their copyrighted

10                      property to Minh Nguyen.

11         3. Regarding prelitigation communication being protected by the anti-

12            SLAPP statute, this is only true "when it relates to litigation that is

13            contemplated in good faith and under serious consideration." (Id. at pp. 36,

14            38, quoting Action Apartment Association, Inc. v. City of Santa Monica

15            (2007).

16                      Exhibits A-I represent bad faith and are not serious consideration

17                      due to the threats of criminal charges against defendants that

18                      never arose, false accusations and the long delay in filing the

19                      lawsuit (1 year 7 months) and changing the law firm. Also,

20                      plaintiff Minh Nguyen sent these exhibits while under contract

21     8       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1                       with Koster. Her contract stated she waived her rights for legal

2                       action against Koster and affiliates. (Exhibit F).

3          4. According to the Supreme Court: "An exception to the use of section

4            425.16 applies only if [1] a 'defendant concedes, or [2] the evidence

5            conclusively establishes, that the assertedly protected speech or petition

6            activity was illegal as a matter of law.'" (Birkner v. Lain, supra, 156

7            Cal.App.4th at p. 285, emphasis and brackets added, quoting Flatley supra,

8            39 Ca1.4th at p. 320.)

9                   Minh Nguyen acted in bad faith and admittingly made false

10                  statements of copyright ownership when submitting DMCA

11                  Takedown Notices of Koster’s copyrighted film with Koster’s

12                  Distributors Vimeo and Ebay (Exhibits D, E, G, I, J) and in her

13                  Demand and Cease/Desist letters. (Exhibits A, B, C)

14         5. Minh Nguyen has committed “perjury and misrepresentations” according

15           to “DMCA 17 U.S. Code § 512 - Limitations on liability relating to

16           material online.”

17           (3)(A) ELEMENTS OF NOTIFICATION

18              (v) A statement that the complaining party has a good faith belief that

19              use of the material in the manner complained of is not authorized by the

20              copyright owner, its agent, or the law.

21     9       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1                (vi) A statement that the information in the notification is accurate, and

2                under penalty of perjury, that the complaining party is authorized to act

3                on behalf of the owner of an exclusive right that is allegedly infringed

4                (f)MISREPRESENTATIONS.—Any person who knowingly materially

5                misrepresents under this section—

6                   (1) that material or activity is infringing, or

7                   (2) that material or activity was removed or disabled by mistake or

8                   misidentification, shall be liable for any damages, including costs

9                   and attorneys’ fees, incurred by the alleged infringer, by any

10                  copyright owner or copyright owner’s authorized licensee, or by

11                  a service provider, who is injured by such misrepresentation, as the

12                  result of the service provider relying upon such misrepresentation in

13                  removing or disabling access to the material or activity claimed to

14                  be infringing, or in replacing the removed material or ceasing to

15                  disable access to it.

16               (3)CONTENTS OF COUNTER NOTIFICATION..

17                  (C) A statement under penalty of perjury that the subscriber has a

18                  good faith belief that the material was removed or disabled as a

19                  result of mistake or misidentification of the material to be removed

20                  or disabled.

21          10        MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1       6. Also in Minh’s Cease and Desist and Demand Letters, she knowingly and

2       willfully made false and defamatory statements (Exhibits A, B, C), consistently

3       repeating that she had no contract to appear in the film, Koster was not the film

4       copyright holder and that Koster committed criminal activity.

5       • Exceptions to Litigation Privilege (1) The statute at issue must be “more

6            specific than the litigation privilege,” and (2) application of the privilege

7            would render the statute “significantly or wholly inoperable.” See People v.

8            Persolve, 218 Cal.App.4th 1267, 1274 (2013) (holding that the litigation

9            privilege does not apply to alleged violations of certain state and federal unfair

10           debt collection statutes); see Action Apartment, supra, at 1246 (the litigation

11           privilege does not apply to criminal prosecution of perjury, false reporting,

12           and attorney deceit because the statutes at issue are “more specific than the

13           litigation privilege and would be significantly or wholly inoperable if its

14           enforcement were barred when in conflict with the privilege.”) People v.

15           Persolve, LLC, 218 Cal.App.4th 1267, 160 Cal. Rptr. 3d 841 (Cal. Ct. App.

16           2013) - CASETEXT

17

18   III.    THE SECOND STEP OF THE anti-SLAPP ANALYSIS

19      • If the defendant prevails in this (first) step of the analysis, the trial court must

20           then assess the merits of the plaintiff’s claim. The Supreme Court has

21      11        MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS COUNTERCLAIMS
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1        described this second step of the SLAPP analysis as a “summary-judgment-

2        like procedure.” (Baral v. Schnitt (2016) 1 Cal.5th 376, 384 (Baral).)

3     • The plaintiff just needs to establish that its claim has “at least ‘minimal

4        merit.’” (Park, supra, 2 Cal.5th at p. 1061

5     • "Under federal law, 'summary judgment will not lie if the dispute about a

6        material fact is "genuine," that is, if the evidence is such that a reasonable jury

7        could return a verdict for the nonmoving party.' . . . '. . . [A]t the summary

8        judgment stage the judge's function is not . . . to weigh the evidence and

9        determine the truth of the matter but to determine whether there is a genuine

10       issue for trial. . . .'" ( Hung v. Wang, supra, 8 Cal.App.4th at pp. 931-933,

11       italics added.) Thus, to the extent the parties' evidence is in conflict, the facts

12       and inferences supported by the plaintiff's evidence must be accepted as true.

13       (See Ortiz v. Los Angeles Police Relief Assn. (2002) 98 Cal.App.4th 1288,

14       1298-1299.)

15    • “For the second step of the anti-SLAPP analysis, it must always be

16       remembered that the court is not permitted to weigh the evidence; indeed, the

17       evidence offered by the plaintiff is taken as true, even if defendant offers

18       contrary evidence.

19          A plaintiff has the right to have his case decided on the facts by a judge or

20       jury. That right can only be circumvented if the matter at hand can be decided

21          12       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1        as a matter of law. The moment the court must weigh evidence, a trial is

2        necessary. So, a demurrer, motion for judgment on the pleadings, anti-SLAPP

3        motion, and motion for summary judgment are all decided by taking the

4        evidence offered by plaintiff as true. Only when the evidence is taken as true,

5        but still fails to support an action, can the court then dismiss the case.” Aaron

6        Morris – Morris & Stone LLP

7     • The Federal Code of Civic Procedure Rule 56 (a): “The court shall grant

8        summary judgment if the movant shows that there is no genuine dispute as to

9        any material fact and the movant is entitled to judgment as a matter of law.”

10       The Summary Judgement aspect of Plaintiffs’ anti-SLAPP motion should be

11       dismissed because Plaintiffs have stated in their motion that there are genuine

12       disputes that are critical between the parties in reference to “material facts”.

13       The Plaintiffs’ Motion to Strike, Complaint and Koster’s Answer and

14       Counterclaim contain a long list of disputes to material fact. Examples:

15          • Plaintiffs Minh Nguyen and Nam Pham signed written Talent Release

16               Form Contracts with Koster. (Exhibits F and H).

17          • Based on the Talent Release Forms, Koster asserts that Nguyen and

18               Pham have waived their rights to sue Koster and his affiliates.

19          •       Plaintiffs disagree and state “a release is not a covenant not to sue.”

20               (pg. 15, lines 14-15 of Plaintiffs’ motion)

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1             • In the Plaintiffs defense of the counterclaim of Conversion by Koster,

2             • Plaintiffs allege that Koster never asked for the return of his property.

3             • Koster asserts that he did request return of his property.

4    IV.   COUNTERCLAIMS OF KOSTER

5      A. CONVERSION – ALL ELEVEN PLAINTIFFS

6      1. “Conversion is an intentional tort which occurs when a party takes

7          the chattel property of another with the intent to deprive them of it…… For

8          the purposes of conversion, “intent” merely means the objective to possess

9          the property or exert property rights over it.” Cornell Legal Information

10         Institute.

11
       2. The Plaintiffs have committed Conversion by:
12
           • The Plaintiffs, as admitted by them, have in their unauthorized possession
13
              Koster’s Copyrighted Property (Film, Interviews, related materials) that
14
              they demanded and received in a settlement with previous codefendant in
15
              this case, Brian Tooker. Plaintiffs also instructed Tooker not to return
16
              Koster’s property back to Koster which he hasn’t.
17
           • Plaintiffs, as admitted by them, submitted DMCA copyright Takedown
18
              notices of Koster’s copyrighted film. to Koster’s film Distributors,
19

20

21            14        MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1           claiming that they were the copyright holders of the film, not Koster, thus

2           denying Koster his rights of film distribution.

3        • Plaintiffs, as admitted by them, made multiple statements stating that

4           Koster does not own the film to numerous parties.

5        • Plaintiffs’ Defense:

6        • Plaintiffs claim a defense of Litigation Privilege and Koster did not ask for

7        return of his preoperrty.

8           • Plaintiffs’ unauthorized possession of Koster’s film property is

9                physical recording evidence to be used in this case and is not

10               Litigation Privilege according to Cal. Civ. Code § 47(2).

11          • 47(2) “This subdivision does not make privileged any communication

12               made in furtherance of an act of intentional destruction or alteration of
13               physical evidence undertaken for the purpose of depriving a party to

14               litigation of the use of that evidence, whether or not the content of the
15               communication is the subject of a subsequent publication or broadcast
16               which is privileged pursuant to this section. As used in this paragraph,
17               "physical evidence" means evidence specified in Section 250 of the
18               Evidence Code or evidence that is property of any type specified in

19               Chapter 14 (commencing with Section 2031.010) of Title 4 of Part 4 of
20               the Code of Civil Procedure.”.
21          15        MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1            • Koster has met the requirements of California law for the elements

2                required to prove a Conversion claim according to Judicial Council of

3                California’s Civil Jury Instructions, No. 2100 and (Burlesci v. Petersen

4                (1998) 68 Cal.App.4th 1062, 1066; Regent Alliance Ltd. v. Rabizadeh

5                (2014) 231 Cal.App.4th 1177, 1181.

6            • Conversion Elements:

7     (1) the plaintiff’s ownership or right to possession of the property.

8            • Koster owns the copyright of his film and related film materials.

9     (2) the defendant’s conversion by a wrongful act or in a manner that is

10       inconsistent with the plaintiff’s property rights.

11           • Plaintiffs admitted possession of Koster’s property and DMCA

12               Takedown Notices and multiple statements against Koster’s copyright.

13    (3) resulting damages

14       Koster has lost substantial financial damages due to the stoppage of film’s

15       distribution by the DMCA Takedowns and current actions of Plaintiffs.

16       As stated in Koster’s counterclaim (pg.33) which includes repeating and

17       realleging all the foregoing paragraphs in the counterclaim. Koster, according

18       to Federal Rules of Civic Procedures 8 has met the minimum requirements for

19       the elements of Conversion.

20

21          16       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1     B. DEFAMATION – MINH NGUYEN, NAM PHAM, RADIX CORP

2        The California Court of Appeals defined defamation as a statement “which

3        exposes any person to hatred, contempt, ridicule or obloquy, or which causes

4        him to be shunned or avoided, or which has a tendency to injure him in his

5        occupation.” Mattel, Inc. v. Luce, No. B143260, 2001 WL 1589175, 1 at *8

6        (Cal. Ct. App. Dec. 13, 2001), as modified (Jan. 8, 2002) (quoting Cal. Civ.

7        Code § 45).

8
            • By Plaintiffs Minh Nguyen, Nam Pham and Steve Sherman of Radix
9
                 Corp have defamed Koster in Koster’s chosen profession in the same
10
                 manner as in Del Junco v. Hufnagel. whereby the defendant falsely
11
                 alleged that the plaintiff lacked the requisite medical training to
12
                 perform surgery. In the court’s eyes, this was enough to constitute not
13
                 only defamation but defamation per se. Del Junco v. Hufnagel, 150
14
                 Cal. App. 4th 789, 798-99 (2007).
15
            • Plaintiffs Minh Nguyen, Nam Pham and Steve Sherman of Radix
16
                 Corp have not denied their actions but rely on the defense of Legal
17
                 Privilege and Statute of Limitations
18

19    • Koster met the Statute of Limitations by previously filing a civil lawsuit

20       against Minh Nguyen for Defamation, on May 20, 2021 case # CV2021-

21          17         MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1        008299 in the State of Arizona. The Judge’s ruling in this case was that

2        Jurisdiction was not in Arizona.

3     • In reference to Defamation, Plaintiffs only address Libel and do not mention

4        Slander in Koster’s Defamation counterclaim. The primary method to prove

5        Slander is through witness testimony and it would be an injustice to Koster if

6        the court did not have an opportunity to hear witness testimony on slander.

7     • One recent example of Plaintiffs’ Slander is evidenced in Exhibit G of the

8        Plaintiffs Complaint in Richard Botkin’s Declaration (Exhibit G, pg. 13, Line

9        7-15) signed by him on November 21, 2022, whereby Botkins states that

10       Plaintiffs Steve Sherman of Radix, Minh Nguyen and Nam Pham all contacted

11       him about Koster;

12    • 35.” I knew very little of FK’s involvement with TOE. He shared none of his

13       journey on this endeavor with me. I learned of things when contacted by Steve

14       Sherman of Vietnam Veterans for Factual History (“VVFH”) and Minh

15       Nguyen……… After listening to Steve, Minh and Nam Pham (another main

16       figure in the TOE effort.), I saw recurrence and worse in the challenges and

17       grievances I have with FK.”

18    • For the Plaintiffs’ allegation that their conduct of defamation outside the Statute

19       of Limitations, Koster asserts that he acted timely and was well within the

20       statute of limitations of Cal. Code Civ. Proc. § 340(c), which requires

21          18       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
                               COUNTERCLAIMS PURSUANT TO 425.16
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1        commencement of action within one year.

2     • Koster filed a civil lawsuit against Minh Nguyen for Defamation, on May 20,

3        2021 case # CV2021-008299 in the State of Arizona. The Judge’s ruling in

4        this case was that Jurisdiction was not in Arizona.

5     • As stated in Koster’s counterclaim (pg.32) which includes repeating and

6        realleging all of the foregoing paragraphs in the counterclaim. Koster,

7        according to Federal Rules of Civic Procedures 8 has met the minimum

8        requirements for the elements of defamation.

9     C. BREACH OF CONTRACT – MINH NGUYEN, NAM PHAM, MY VAN

10    1. There are four standard elements required to establish a claim for breach of

11       contract in California: (i) the existence of a valid contract, (ii) the plaintiff's

12       performance (iii) the defendant's breach of contract, and (iv) resulting

13       damages.

14    2. As stated in Koster’s Counterclaim, Plaintiffs Minh Nguyen and Nam Pham

15       have both signed written Talent Release Form contracts (Exhibit F, H) with

16       Koster. Both stated in the Plaintiffs Complaint that they agreed to be in the

17       film.

18    3. As stated in Koster’s Counterclaim, Plaintiff My Van and Koster formed a

19       written agreement through email exchanges for use of 12 seconds of historical

20       footage for Koster’s film.

21          19       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1       4. As stated in Koster’s Counterclaim, Koster has perfumed his obligations

2          under the contracts.

3       5. As stated in Koster’s Counterclaim, My Van breached this agreement by

4          changing his mind about this video usage of 12 seconds without informing

5          Koster and filing a malicious lawsuit against Koster.

6       6. As stated in Koster’s counterclaim (pg.31) which includes repeating and

7          realleging all of the foregoing paragraphs in the counterclaim. Koster,

8          according to Federal Rules of Civic Procedures 8, has met the minimum

9          requirements for the elements of Breach of Contract.

10      D. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
           AGAINST MINH NGUYEN, NAM PHAM, RADIX CORPORATION
11
     CACI No. 1600. Intentional Infliction of Emotional Distress—Essential Factual
12   Elements
     .
13      • To establish this claim, plaintiff must prove all the following:

14            o That defendant’s conduct was outrageous.

15            o That defendant intended to cause the plaintiff emotional distress “or”

16                 that defendant acted with reckless disregard of the probability that

17                 plaintiff would suffer emotional distress, knowing that the plaintiff

18                 was present when the conduct occurred

19

20

21            20        MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
                                  COUNTERCLAIMS PURSUANT TO 425.16
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1            o That the plaintiff suffered severe emotional distress; and 4. That

2                 defendant’s conduct was a substantial factor in causing plaintiff’s

3                 severe emotional distress.

4
          As stated in Koster’s counterclaim (pg.34) which includes repeating and
5
          realleging all of the foregoing paragraphs in the counterclaim. Koster,
6
          according to Federal Rules of Civic Procedures 8 has met the minimum
7
          requirements for the elements.
8
       E. TORTIOUS INTERFERENCE MINH NGUYEN, NAM PHAM, RADIX
9
     “Intentional IWPEA occurs when a defendant interferes in an
10
     economic relationship between the plaintiff and a third party.
11
     California law identifies seven element s.
12

13     1. An economic relationship that was likely to benefit the

14        plaintiff.

15     2. The defendant’s knowledge of this relationship.

16     3. Independent wrongful conduct by the defendant.
17
       4. Intent on the defendant’s part to disrupt the economic
18
          relationship, or knowledge that disrupt ion was likely because
19
          of their conduct;
20

21           21        MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1      5. Disruption of the relationship.

2      6. Harm to the plaintiff; and

3      7. A causal connection between the wrongful act and the harm 5
4
     The interference must have been wrongful "by some measure beyond
5
     the fact of the interference its elf." Della Penna v. Toyota Motor
6
     Sales, USA, Inc. , 11 Cal.4th 376, 393 (1995) . An IWPEA claim does
7
     not require proof of a written contract and can be asserted in
8
     situations where the statute of frauds would otherwise require
9
     one. Buckaloo v. Johnson , 14 Cal.3d 815, 824 (1975) ”. – BONA
10
     LAW
11
       • As stated in Koster’s counterclaim (pg.35) which includes repeating and
12
           realleging all the foregoing paragraphs in the counterclaim. Koster, according
13
           to Federal Rules of Civic Procedures 8 has met the minimum requirements for
14
           the elements of Tortious Interference.
15

16
       F. FRAUD AGAINST PLAINTIFFS MINH NGUYEN AND NAM PHAM
17
           1900. Intentional Misrepresentation – Plaintiff claims that defendant made a
18
           false representation that harmed the plaintiff. To establish this claim, plaintiff
19
           must prove the following:
20

21            22       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1          1. That defendant represented to plaintiff that a fact was true.

2         2.That defendant’s representation was false

3         3. That defendant knew that the representation was false when defendant made

4         it, or that defendant made the representation recklessly and without regard for

5         its truth.

6         4. That defendant intended that plaintiff rely on the representation.

7         5. That plaintiff reasonably relied on defendant’s representation.

8         6. That plaintiff was harmed.

9         7. That plaintiff’s reliance on defendant’s representation was a substantial

10        factor in causing plaintiff’s harm.

11        Koster relied on the written contracts signed by Minh Nugyen and Nam Pham

12        to be honored by them. As a result of their actions, it is obvious they had no

13        intention of fulfilling their obligations. As stated in Koster’s counterclaim

14        (pg.36) which includes repeating and realleging all the foregoing paragraphs

15        in the counterclaim. Koster, according to the Federal Rules of Civic

16        Procedures 8, has met the minimum requirements for the elements of Fraud.

17   V. BACKGROUND

18     Koster directed, produced, and wrote the screenplay for a film called “Through

19   Our Eyes - The Vietnam War”.

20

21            23       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1       Plaintiffs Radix Corp. and SBTN Corp. allege that through “their conduct and

2    mutual representations” with Defendant Koster, they established an unwritten

3    contract with Koster. They also claim to be Producers of the film. Radix and SBTN

4    also allege Koster received $300,000 from them.

5       Plaintiff Next Vietnam Foundation Corp claims to be a third-party beneficiary of

6    this unwritten contract.

7       - Koster asserts there was no communication with Radix and SBTN that would

8          establish a contract between the parties, and they are not Producers of the film.

9       - Koster asserts that he and the co-defendants did not receive $300,000 from

10         Radix/ SBTN.

11      - Koster asserts that Next Vietnam Foundation was not in existence when the

12         alleged unwritten contract was formed.

13      Plaintiffs Nam Pham and Minh Nguyen signed written Talent Release Form

14   Contracts with Koster.

15      Plaintiff My Van Corp. (My Van) and Koster established a contract through

16   written emails that states My Van gave permission to Koster for use of its historical

17   video footage for a film made by Koster. Koster used 12 seconds of this footage. My

18   Van alleges Koster made an unwritten representation that the Film’s ownership

19   would belong to the NVF.

20      - Koster denies he made any representations that NVF would own the film.

21             24      MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1       The seven Plaintiffs listed as individuals in the lawsuit against Koster, state that

2    they gave their permission to be in the film based on Koster’s representation that

3    NVF would own the rights to the film.

4       - Koster asserts that some of these individuals did not appear in the film.

5       - Koster denies representing that NVF would own the film.

6       - Koster asserts that NVF was not in existence during Plaintiffs’ allegations.

7

8

9    Conclusion

10      The Plaintiffs are currently in default for not answering Koster’s Answer and

11   Counterclaim. It appears the Plaintiffs have used the anti-SLAPP motion to avoid

12   having to answer the statements in Koster’s counterclaim and to burden Koster with

13   the restrictions and short timelines in answering an anti-SLAPP motion.

14      Koster followed Rule 8 of Federal Rules of Civic Procedure in his Counterclaim

15   whereby Rule 8 states the pleading should be a short and plain statement with each

16   allegation being simple, concise, and direct. Koster fulfilled the obligations of

17   Federal Rule 8, but due to the restrictions of Rule 8, it does not allow for a full

18   defense against a California state law of an anti-SLAPP motion.

19      Koster respectfully asks the Court, if need be, that Koster be allowed to amend

20   his Counterclaim to add more specific information.

21            25       MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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1       In the “Interest of Justice”, Koster respectfully asks the Court to allow this

2    counterclaim to go to trial by dismissing the plaintiffs’ motion to strike. The

3    plaintiffs are erroneously using the anti-SLAPP law combined with Litigation

4    Privilege in an obvious attempt to avoid a judgement at trial.

5       Koster proposes recovery of damages according to the anti-SLAPP statute that

6    states, “If the court finds that a special motion to strike is frivolous or is solely

7    intended to cause unnecessary delay, the court shall award costs and reasonable

8    attorney’s fees to a plaintiff prevailing on the motion, pursuant to Section 128.5.” (§

9    425.16, subd. (c)(1).)

10       DATED this 26 day of July, 2023

11

12                                                Frederick Koster Defendant Pro Per

13

14

15

16

17

18

19

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21             26      MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE DEFENDANTS
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    From: ThucMinh Nguyen
    Sent: Thursday, April 22, 2021 10:16 PM
    To: 'fred@kosterfilms.com' <fred@kosterfilms.com<mailto:fred@kosterfilms.com>>
    Cc: 'namphu8@gmail.com' <namphu8@gmail.com<mailto:namphu8@gmail.com>>;
    'trucho@sbtn.tv' <trucho@sbtn.tv<mailto:trucho@sbtn.tv>>; 'phi@myvanfilms.com'
    <phi@myvanfilms.com<mailto:phi@myvanfilms.com>>; 'thucnhi4@gmail.com'
    <thucnhi4@gmail.com<mailto:thucnhi4@gmail.com>>;
    'vuthanhthuy@radiosaigonhouston.com'
    <vuthanhthuy@radiosaigonhouston.com<mailto:vuthanhthuy@radiosaigonhouston.com>>;
    'trong.phan@gmail.com' <trong.phan@gmail.com<mailto:trong.phan@gmail.com>>;
    'jane.nguyen@alpharealtors.net'
    <jane.nguyen@alpharealtors.net<mailto:jane.nguyen@alpharealtors.net>>;
    'tomhoang@hoangla.com' <tomhoang@hoangla.com<mailto:tomhoang@hoangla.com>>;
    'ngoan98@yahoo.com' <ngoan98@yahoo.com<mailto:ngoan98@yahoo.com>>;
    'duongphuc@radiosaigonhouston.com'
    <duongphuc@radiosaigonhouston.com<mailto:duongphuc@radiosaigonhouston.com>>;
    'lienhoahouston13@gmail.com'
    <lienhoahouston13@gmail.com<mailto:lienhoahouston13@gmail.com>>;
    'apham2001@yahoo.com' <apham2001@yahoo.com<mailto:apham2001@yahoo.com>>;
    'dofamily@aol.com' <dofamily@aol.com<mailto:dofamily@aol.com>>;
    'nptruong6025@gmail.com' <nptruong6025@gmail.com<mailto:nptruong6025@gmail.com>>;
    'ttaitrinh@gmail.com' <ttaitrinh@gmail.com<mailto:ttaitrinh@gmail.com>>;
    'Duong@pragmatics.com' <Duong@pragmatics.com<mailto:Duong@pragmatics.com>>;
    'jimmcleroy@aol.com' <jimmcleroy@aol.com<mailto:jimmcleroy@aol.com>>
    Subject: ATTN: Fred Koster - TOE CEASE AND DESIST

    Fred,

    I write regarding the unauthorized use of my image in the film: “Through Our Eyes – The
    Vietnam War” (the “TOE” film) and respectfully request that you cease and desist all use of my
    image, name, voice, photograph, and likeness in any commercial medium. This email serves as a
    last effort to resolve this dispute amicably before I am forced to file suit to protect my
    intellectual property rights and those of the Vietnamese Community.

    To be clear, I have never authorized or consented to the use of my image, verbal or otherwise,
    for public release of the TOE film. In fact, I was assured repeatedly by you that no version will
    be released without my express consent. However, without my knowledge and consent, my
    image and likeness are published on IMBD (available at:
    https://www.imdb.com/title/tt10957908/) and a version of the TOE film is sold on eBay for
    $22.94 with shipping (available at: https://www.ebay.com/itm/124683016989). Your
    unauthorized unilateral misconduct flies in the face of the good-will intended by the numerous
    donors who financially contributed to the TOE film for your own personal unjust gain – and
    evidences your intentional and willful deceit to defraud donors, despite repeated notice of your
    infringement. To date, no response has been provided and review of the respective eBay and
    IMBD webpages for TOE show that your intentional and willful infringement of my copyright
    and the Vietnamese Community’s copyright has continued.




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    In fact, as a contractor-for-hire by VVFH – the representative non-profit agent for the
    Vietnamese Community’s interest in the TOE film – neither you, Fred Koster nor Koster Films
    LLC, own any copyright or intellectual property to any versions, regardless of medium, of the
    TOE film and at least ninety-three (93) interview footages. Thereby, you, Fred Koster and Koster
    Films LLC, do not have the right to list the TOE film on IMBD or sell any versions of the film
    on eBay or any other commercial medium. Your continued fraudulent misrepresentation as the
    copyright holder of the TOE film, continued refusal to immediately relinquish at least the ninety-
    three (93) interview footages, and continued unauthorized use of my image are gross violations
    of the law. Unless Fred Koster or Koster Films LLC immediately cease and desist all actions
    relating to the TOE film and immediately send us the footages of at least ninety-three (93)
    interviews, I and the Vietnamese Community are prepared to pursue at least the following claims
    against you, Fred Koster and Koster Films LLC:

    • copyright infringement;
    • fraud;
    • constructive fraud;
    • fraudulent concealment;
    • fraudulent misrepresentation;
    • negligent misrepresentation;
    • unjust enrichment;
    • breach of fiduciary duty;
    • breach of contract;
    • breach of implied contract;
    • breach of covenant of good faith and fair dealing;
    • breach of oral agreement;
    • professional negligence;
    • defamation per se.

    In light of the foregoing, we request that you immediately cease and desist from all unauthorized
    use of copyright infringement, remove the IMBD page, remove the eBay page, and send us the
    ninety-three (93) interview footages. If you, Fred Koster or Koster Films LLC, fail to comply,
    we will pursue all remedies available to us including, but not limited to, commencing an action
    for injunctive relief and monetary damages. We intend to hold you, Fred Koster and Koster
    Films LLC, fully responsible for all costs, damages and/or consequences of its actions if you fail
    to comply with this letter, and immediately refrain from all unauthorized activities.

    To the extent that you believe that by remaining silent you can continue your infringement
    without negative repercussions, we refer you to 15 U.S.C. § 1116, which gives us the right to an
    injunction against infringement, and 15 U.S.C. § 1117, which gives us the right to, among other
    remedies, “(1) defendant's profits, (2) any damages sustained by the plaintiff, and (3) the costs of
    the action.”

    Nothing contained in this cease and deist request shall be construed as a waiver of our rights
    and/or remedies, all of which are expressly reserved. This is the final notice that you will receive
    before hearing from our law firm. We demand that all infringement cease or we will bring an




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    infringement action to protect our rights.



    Sincerely,

    Minh




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    From: ThucMinh Nguyen <TNguyen@kasowitz.com<mailto:TNguyen@kasowitz.com>>
    Date: 5/7/21, 5:56:21 PM PDT
    To: fred@kosterfilms.com<mailto:fred@kosterfilms.com>
    <fred@kosterfilms.com<mailto:fred@kosterfilms.com>> BT Productions
    <btproductionsaz@gmail.com<mailto:btproductionsaz@gmail.com>> BT Productions
    <create@btproductionsmedia.com<mailto:create@btproductionsmedia.com>> Brian Tooker
    <briantooker91@gmail.com<mailto:briantooker91@gmail.com>>
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    <phi@myvanfilms.com<mailto:phi@myvanfilms.com>>
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    <thucnhi4@gmail.com<mailto:thucnhi4@gmail.com>>
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    <jane.nguyen@alpharealtors.net<mailto:jane.nguyen@alpharealtors.net>>
    tomhoang@hoangla.com<mailto:tomhoang@hoangla.com>
    <tomhoang@hoangla.com<mailto:tomhoang@hoangla.com>>
    ngoan98@yahoo.com<mailto:ngoan98@yahoo.com>
    <ngoan98@yahoo.com<mailto:ngoan98@yahoo.com>>
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    <duongphuc@radiosaigonhouston.com<mailto:duongphuc@radiosaigonhouston.com>>
    lienhoahouston13@gmail.com<mailto:lienhoahouston13@gmail.com>
    <lienhoahouston13@gmail.com<mailto:lienhoahouston13@gmail.com>>
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    <apham2001@yahoo.com<mailto:apham2001@yahoo.com>>
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    <Duong@pragmatics.com<mailto:Duong@pragmatics.com>>
    jimmcleroy@aol.com<mailto:jimmcleroy@aol.com>
    <jimmcleroy@aol.com<mailto:jimmcleroy@aol.com>>
    richbotkin@icloud.com<mailto:richbotkin@icloud.com>
    <richbotkin@icloud.com<mailto:richbotkin@icloud.com>>
    sherman1@flash.net<mailto:sherman1@flash.net>
    <sherman1@flash.net<mailto:sherman1@flash.net>>
    Subject: RE: ATTN: Fred Koster - TOE CEASE AND DESIST




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    Fred Koster, Koster Films LLC, and affiliates:

    I write regarding your failure to comply with our cease and desist demands set forth on April 22,
    2021 (ThucMinh Nguyen April 22, 2021 Email, Attachment 1) (“[W]e request that you
    immediately cease and desist from all unauthorized use of copyright infringement, remove the
    IMDb page, remove the eBay page, and send us the ninety-three (93) interview footages.”).

    From April 22, 2021, we have sent at least four cease and desist demand emails, which provide
    notice of your copyright infringement, demand that you cease and desist, and request a response.
    To date, you have failed to respond to any of our cease and desist demands. A review of eBay,
    IMDb, Vimeo, and Through Our Eyes websites shows that your willful infringement of our
    copyright has continued. Despite repeated requests and confirmation from you and Koster Films
    LLC for the return of at least ninety-three (93) interviews, we received no footage. Your
    fraudulent misconduct is malicious and an intentional effort to hold hostage our property by (1)
    refusing to return all films and related materials, and (2) disseminating false copyright ownership
    claim to the TOE project.

    In fact, despite your admission and acknowledgement on April 23, 2021 that you will be
    “shutting down the film website and marketing” you maliciously relisted the TOE film on eBay
    with all proceeds to go directly to you, Fred Koster and Koster Films LLC. (Fred Koster April
    23, 2021 Email, Attachment 5). Subsequently on April 25, 2021, eBay notified us that your eBay
    listing was pending removal. (eBay Listing Removal Pending April 25, 2021 Email, Attachment
    2). Immediately on April 26, 2021, you removed such listing (Screenshot of eBay listing
    removal, Attachment 3) and relisted the TOE film for sale at $15.99 plus shipment of $6.95 on a
    new eBay link, with presale shipment to be sent out by May 14, 2021 (Screenshot of eBay
    relisting, Attachment 4). In addition, you, Fred Koster, and Koster Films LLC fraudulently
    claim, without our consent and without authority that you are the copyright owner of the TOE
    project and falsely listed on eBay, that you, Fred Koster, and Koster Films LLC are the copyright
    owners. (Screenshot of eBay relisting, Attachment 4).

    Compounding your fraudulent misconduct, on the same day that you relisted the TOE film for
    sale on eBay, on April 26, 2021 – despite your representation on April 23, 2021 that you will be
    “shutting down the film website and marketing” – you maliciously and intentionally listed the
    TOE film for not only DVD pre-order, but also, for the first time, permitted streaming for $9.99
    per view through Vimeo on the Through Our Eyes website. (See Screenshot of pre-order and
    Vimeo streaming available at throughoureyesmovie.com, Attachment 6). Your unauthorized and
    fraudulent conduct highlights the hypocrisy of your statement when you claimed “[you] made a
    great film that really tells the South Vietnamese story like it has been never told before.” (Fred
    Koster April 23, 2021 Email, Attachment 5). Indeed, it is a South Vietnamese story of which
    you, Fred Koster and Koster Films LLC, Brian Tooker and BT Productions LLC fraudulently
    claim sole copyright ownership. (See Screenshot of Vimeo Streaming Copyright, Attachment 7;
    Screenshot of Koster Films LLC Claim Copyright to TOE Website, Attachment 17).

    In fact, in an attempt to ensure that we have diligently notified all relevant parties of the current
    status of your and Koster Films LLC fraudulent conduct, we sent a courtesy email on April 27,
    2021 to Brian Tooker and BT Production, who upon information and belief possess all relevant




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    TOE materials. (April 27, 2021 Email to Brian Tooker and BT Production, Attachment 8). To
    date, we received no response from either Brian Tooker or BT Productions LLC. On that same
    day, April 27, 2021, we also filed a copyright infringement notice to Vimeo, upon which Vimeo
    immediately removed the infringing material. (See Vimeo Removal Notification, Attachment 9).
    However, on April 28, 2021, upon your and Koster Films LLC instructions, Brian Tooker and
    BT Production filed a counter copyright claim to the TOE film on Vimeo. (See Vimeo
    Notification of Counter Copyright Claim, Attachment 10). You, Fred Koster, Koster Films LLC,
    Brian Tooker, and BT Productions LLC intentionally and willfully deceive others in the belief
    that you are the copyright owner of the TOE project and have continued to use our Community’s
    good-will to defraud and hold hostage our rightful property in direct violation of well-established
    Federal and California law. This email serves as a notice that you, Fred Koster, Koster Films
    LLC, Brian Tooker, and BT Productions LLC are liable for your fraudulent conducts in criminal
    and civil proceedings in the court of law.

    To be clear, as a contractor-for-hire by VVFH and NVPF – the representative non-profit agents
    for the Vietnamese Community’s interest in the TOE film – neither you, Fred Koster, Koster
    Films LLC, Brian Tooker, nor BT Productions LLC own any copyright or intellectual property to
    any versions, regardless of medium, of the TOE project. We have complete written
    documentation and correspondence between VVFH and NVPF, the rightful owners, and you,
    Fred Koster, Koster Films LLC, Brian Tooker, and BT Productions LLC, requesting your
    services as contractor-for-hire.

    Furthermore, you falsely claim that you have used your “own money, working for free and now
    owning money to those who worked for me.” (Fred Koster April 23, 2021 Email, Attachment 5).
    This is completely untrue. As a contractor-for-hire, you have allocated portions of the budget
    provided for the TOE project for yourself - Fred Koster, Koster Films LLC, Brian Tooker, and
    BT Productions LLC - in excess of $245,987.50 with a ten (10) percent contingency fee. (See
    Budget submitted by Fred Koster and Koster Films LLC, Attachment 11). In fact, you, Fred
    Koster, Koster Films LLC, Brian Tooker, and BT Productions LLC received over $268,515 from
    VVFH and NVPF for the TOE project. Despite repeated request for an itemized expense of the
    finances wired directly to you, Fred Koster, Koster Films LLC, Brian Tooker, and BT
    Productions LLC, to date, there has been no accounting provided. (See Accounting of Bank
    Wired to Koster Films LLC, Attachment 12). You now conveniently claim that you used your
    own money, worked for free, and now owe money for services rendered during filming the TOE
    project. Again, these claims are all false. To date, you have refused and still refuse to provide
    any itemized receipts from the TOE project.

    To the extent you are not well versed in the law of copyright infringement, and it appears you are
    not, the absence of a written contract does not permit you to falsely claim copyright ownership of
    the TOE project. Indeed, California law is clear that a contract “may be written, oral or inferred
    from the parties’ conduct (the last being called an “implied-in-fact” contract).” Westside Estate
    Agency, Inc. v. Randall, 6 Cal. App. 5th 317, 328 (2016); see also Retired Employees Assn. of
    Orange County, Inc. v. County of Orange, 52 Cal. 4th 1171, 1178 (2011) (“The existence and
    terms of an implied contract are manifested by conduct. (Civ. Code, § 1621.)

    As you are well aware, you have been wired over $268,515 over the course of approximately




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    three (3) years from the date of the TOE project conception by VVFH and NVPF. (See
    Accounting of Bank Wired to Koster Films LLC, Attachment 12). You, Fred Koster, Koster
    Films LLC, Brian Tooker, and BT Productions LLC were brought onto the project by VVFH and
    NVPF, and you were provided detailed pitch materials such as concepts, storylines, and other
    materials wherein you agreed to work as a contractor-for-hire and were properly compensated.
    (See Bank wire statements and budget). This is more than sufficient to create an implied-in-fact
    contract under California law. The existence of an implied-in-fact contract here is further
    evidenced by your course of dealing in connection with the ninety-three (93) interviews and
    filming, which you were properly compensated. Your, Fred Koster, Koster Films LLC, Brian
    Tooker, and BT Productions LLC conduct constitutes a clear and blatant violation of California
    law, including the well-established body of law regarding implied-in-fact contracts.

    In addition, your April 23, 2021 email is filled with false statements. First, you do not have a
    “signed film contract” with me as you have falsely stated. (Fred Koster April 23, 2021 Email,
    Attachment 5). I volunteered my time and paid for my own expenses for the successful
    completion of the TOE project and therefore never had a contract for my appearance with VVFH
    and NVPF, the rightful copyright owner of the TOE film. I never signed, consented, or
    authorized the public release of my image in the TOE film. I was assured repeatedly by you that
    no version will be publicly released without my express consent. However, without my
    knowledge and consent, my image and likeness are published on IMDb, eBay, and streamed on
    Vimeo.

    Second, you claimed that you “made a great film that really tells the South Vietnamese story like
    it has been never told before.” (Fred Koster April 23, 2021 Email, Attachment 5). Yet the TOE
    documentary is filled with inaccurate historical footages that do not belong to the Vietnam War
    or the Vietnam War re-education camps. Despite our repeated requests to remove the inaccurate
    clips, you have refused. Your conduct exhibited a pattern of behavior that showcases your
    complete disregard for the accuracy of the documentary. Additionally, your conduct from your
    time on set for “Ride the Thunder”, under the direction of Richard Botkin, the rightful copyright
    owner of Ride the Thunder, illustrated an utter and complete lack of knowledge regarding the
    Vietnam War subject matter. Despite this, in an April 1, 2021 interview with Steven Synder, you
    proclaimed yourself as an “expert in the Vietnam War” and fraudulently represented that your
    films are funded by “special interests groups” and “investors.” (Steven Snyder Interview of Fred
    Koster, available at: https://anchor.fm/stevendsnyder/episodes/Episode-11--Fred-Koster-
    eu1v32). These were not and are not films funded by special interest groups or investors. VVFH
    and NVPF are your employers, and you were the contractor-for-hire who took advantage of our
    trust and goodwill. Your statements are false and fraudulently misrepresent your role as a
    contactor-for-hire in both the TOE project and Ride the Thunder films. We demand
    acknowledgement that you, Fred Koster, Koster Films LLC, Brian Tooker, and BT Productions
    LLC do not have any copyright and/or intellectual property to any versions of the TOE and Ride
    the Thunder productions. Be advised that Mr. Richard Botkin has agreed to join our criminal and
    civil actions against you, Fred Koster, Koster Films LLC, Brian Tooker, and BT Productions
    LLC.

    This email serves to put you on notice that we are acquiring legal representation and will be
    pursuing both criminal and civil proceedings against you, Fred Koster and Koster Films LLC for




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    at least the following claim of actions: copyright infringement; fraud; constructive fraud;
    fraudulent concealment; fraudulent misrepresentation; negligent misrepresentation; unjust
    enrichment; breach of fiduciary duty; breach of contract; breach of implied contract; breach of
    covenant of good faith and fair dealing; breach of oral agreement; professional negligence;
    defamation per se; and tortious interference.

    We therefore demand (i) that you cease and desist further dissemination of false copyright
    ownership claim to TOE production; (ii) immediately return at least ninety-three (93) interview
    footages, all related footages, and materials related to the TOE project; (iii) cease all sales on
    eBay, Vimeo, and any other commercial medium; (iv) cease and desist further dissemination of
    false copyright ownership claim to Ride the Thunder production; (v) return all footages, related
    footages, and materials related to the Ride the Thunder production; and (vi) promptly publish
    appropriate retractions and corrections to false statements made as to your illicit copyright
    ownership of the abovementioned productions. To be clear, we are proceeding with all criminal
    and civil proceedings against you, Fred Koster, Koster Films LLC, Brian Tooker, and BT
    Productions. We will take all and every precaution to ensure that television and radio networks
    who have conducted an interview of our TOE project are notified of the criminal and civil
    proceedings against you, Fred Koster, Koster Films LLC, Brian Tooker, and BT Productions – it
    is our duty and responsibility to notify the thousands of donors who contributed to the TOE
    project.

    Be advised that our claims herein are serious and should not be taken lightly. On “Through Our
    Eyes” website, you, Fred Koster, claims that “Koster Films is excited to announce the
    completion and release of the historic film, Through our Eyes - The Vietnam War.
    Unfortunately, Koster Films has received threats if we continue to release this film. Currently,
    there are investigations of these threats.” (See Screenshot of Through Our Eyes website,
    Attachment 13).

    Our counsel will send you a formal demand letter stating our claim of actions against you and
    prayers for relief, including but not limited to: (1) the entire sum of the contract at least in the
    amount of $268,515; (2) statutory damages in at least $150,000 as set forth in §504(c)(2) therein;
    (3) injunctive relief pursuant to 15 USC §1116, (4) attorney costs and fees pursuant to 15 USC
    §1117; and (5) treble punitive damages pursuant to Cal Civ §1770(a)(4) – total liable economic
    damages in excess of $2,000,000 against you, Fred Koster, Koster Films LLC, Brian Tooker, and
    BT Productions LLC. In addition, we are in discussion with the District Attorney Office and will
    set forth a meeting to commence a formal criminal complaint wherein an audit of you, Fred
    Koster, Koster Films LLC, Brian Tooker, and BT Productions LLC will commence immediately.

    In addition, be advised that it is upon information and belief that Heidi Koster is the key
    principal of Koster Films LLC and will be a party to our actions against you, Fred Koster and
    Koster Films LLC. (See Heidi Koster – Koster Films LLC, Attachment 14) (“Key Principal:
    Heidi Koster”). Upon information and belief your, Fred Koster and Koster Films LLC address
    for legal service is 3655 W Anthem Way, Anthem Arizona, 85086, Maricopa County. (Koster
    Films LLC Arizona Corporation Commission, Attachment 15). Upon information and belief,
    Brian Tooker and BT Productions LLC address for legal service is 1952 E Ebony Pl, Chandler,
    Arizona 85286. (BT Productions LLC Arizona Corporation Commission, Attachment 16).




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    In the meantime, you, Fred Koster, Koster Films LLC, Brian Tooker, and BT Productions are
    directed to maintain and preserve any and all communications and documents concerning the
    TOE and Ride the Thunder productions in your possession, custody, and/or control, including
    but not limited to, emails, instant-message communications, notes, telephone records, text
    messages and computer files. Nothing contained in or omitted from this letter is, or should be
    construed as, a limitation, restriction or waiver, express or implied, of any of our rights and
    remedies in connection with the matters raised herein, all of which are expressly reserved.

    Regards,
    Minh




    ThucMinh Nguyen
    Kasowitz Benson Torres LLP
    333 Twin Dolphin Drive, Suite 200
    Redwood Shores, CA 94065
    Tel. (650) 453-5420
    Fax. (650) 362-9302
    TNguyen@kasowitz.com<mailto:TNguyen@kasowitz.com>




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    " breach of contract;
    " breach of implied contract;
    " breach of covenant of good faith and fair dealing;
    " breach of oral agreement;
    " professional negligence;
    " defamation per se.
We would like to resolve this matter amicably with you prior to naming you as a joint defendant with Fred
Koster and Koster Films LLC. We understand that you may be the party who facilitated the technical
implementation of the website, filming and editing, and that you are in possession of the 93 interviews. We
would like to avoid any unnecessary legal actions against you and your company, BT Productions, in the
pending litigation against Fred Koster and Koster Films LLC. Therefore, we request that you immediately
return our property.

Should we not receive a response from you by end of business day Tuesday, April 27th, we will
unfortunately be forced to include you in the present litigation against Fred Koster and Koster Films LLC as
a joint defendant with at least the above civil and criminal claims. This means that you and BT Productions
will be jointly and severally liable with Fred Koster and Koster Films LLC in the pending civil and criminal
lawsuit for at least the above claims. Nothing contained in this request shall be construed as a waiver of our
rights and/or remedies, all of which are expressly reserved.
We are available to discuss the above via a conference call and welcome any questions you may have.

Regards,
Minh

ThucMinh Nguyen
Kasowitz Benson Torres LLP
333 Twin Dolphin Drive, Suite 200
Redwood Shores, CA 94065
Tel. (650) 453-5420
Fax. (650) 362-9302
TNguyen@kasowitz.com

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                                                                                                 Fred K <fknotebook@gmail.com>



  Fwd: Your Vimeo video has been removed for copyright infringement
  1 me   age

  Brian Tooker <briantooker91@gmail.com>                                                               Tue, Apr 27, 2021 at 9:22 PM
  To: "fred kosterfilms.com" <fred@kosterfilms.com>



    ---------- Forwarded message ---------
    From: Vimeo <no-reply@vimeo.com>
    Date Tue, Apr 27, 2021 at 9 20 PM
    Subject: Your Vimeo video has been removed for copyright infringement
    To: <briantooker91@gmail.com>




                 Dear BT Productions:
                 Your video titled "Through Our Eyes" (https://vimeo.com/536022661)
                 was removed on Apr 28, 2021 in response to a takedown notice
                 submitted by ThucMinh Nguyen based on "throughoureyesmovie"
                 pursuant to the Digital Millennium Copyright Act (“DMCA”)

                 Why did this happen?
                 We removed your video because a third party claims that your video infringes its
                 copyright The DMCA require Vimeo to remove allegedly infringing content upon receipt
                 of a valid takedown notice.

                 Who submitted this takedown?
                 The takedown notice was sent by:
                 Copyright Holder ThucMinh Nguyen
                 Address: 10216 Park Cir E City, State, and Zip: Cupertino, CA 95014
                 Phone number: (408) 890-0354
                 Email address: Thucminh.n@gmail.com

                 Can I challenge this removal?
                 If you believe that the third party claim was mistaken, you may challenge it by filing a
                 counter-notification form, available here: https://vimeo.com/dmca#counter_notification.
                 Please read our full DMCA policy for more information on the counter-notification process.



https://mail.google.com/mail/u/2?ik=53d0404b3e&view=pt&search=all&permthid=thread-f%3A1698256678020142923&simpl=msg-f%3A16982566780…   1/2
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                 Alternately, you may contact the copyright holder (or representative) directly and ask them
                 to withdraw their claim.

                 Will anything happen to my Vimeo account status?
                 This takedown will count as a copyright “strike” against your account. If you receive three
                 unresolved copyright strikes, we will disable your account under our repeat infringer
                 policy: https://vimeo.com/dmca#repeat_infringer.

                 You can review any copyright strikes your account receives here:
                 https://vimeo.com/settings/videos/dmca.

                 You can also learn more about dealing with DMCA strikes in our Help Center here:
                 https://help.vimeo.com/hc/en-us/sections/203914978-DMCA

                 We strongly suggest that you carefully review the remaining videos in your account to
                 make sure there are no videos that may infringe upon the rights of others. If you are in
                 doubt as to whether a particular video infringes upon another’s rights, you should remove
                 it. Finally, you should ensure that all future videos you upload do not infringe any other
                 person’s rights.

                 Sincerely,<br />Vimeo, Inc.




                                       If you wish to unsubscribe, or change your notification settings: click here.


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                                                                 Terms | Privacy Policy


    --
    -Brian Tooker- www.briantooker.com




https://mail.google.com/mail/u/2?ik=53d0404b3e&view=pt&search=all&permthid=thread-f%3A1698256678020142923&simpl=msg-f%3A16982566780…   2/2
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              EXHIBIT E
  Case 8:22-cv-02130-JWH-DFM Document 75 Filed 07/26/23 Page 45 of 58 Page ID #:1049


ThucMinh Nguyen

From:                          ThucMinh Nguyen <thucminh.n@gmail.com>
Sent:                          Thursday, May 6, 2021 6:19 PM
To:                            ThucMinh Nguyen
Subject:                       Fwd: VeRO Program -- eBay Listing Removal Pending


                                            **EXTERNAL EMAIL**




Begin forwarded message:

       From: vero@ebay.com
       Date: April 25, 2021 at 8:45:12 PM PDT
       To: thucminh.n@gmail.com
       Subject: VeRO Program -- eBay Listing Removal Pending

       Thank you for contacting us.

       We are pleased to inform you that the following listing(s) you reported are in the process of
       being removed from eBay in response to the Notice of Claimed Infringement you recently sent:

       kosterfilms-llc
       124683016989

       Once removed (typically within 48 hours) we will notify the seller and all participating bidders
       that the listing(s) has been removed due to your request.

       If the Notice of Claimed Infringement contained items that are not listed above you will receive a
       separate email communication about those items. These notices may arrive at different times
       (over a period of up to several hours) as items for different sellers are processed separately.

       If you should have any questions or concerns regarding this matter, please do not hesitate to
       contact us again.

       VeRO Program
       eBay Trust & Safety




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            EXHIBIT F
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Case 8:22-cv-02130-JWH-DFM Document 75 Filed 07/26/23 Page 48 of 58 Page ID #:1052




             EXHIBIT G
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                                                                                              infringement



                                                                                                 Fred K <fknotebook@gmail.com>



  Fwd: Your Vimeo video has been removed for copyright infringement
  1 me   age

  Brian Tooker <briantooker91@gmail.com>                                                               Tue, Apr 27, 2021 at 9:22 PM
  To: "fred kosterfilms.com" <fred@kosterfilms.com>



    ---------- Forwarded message ---------
    From: Vimeo <no-reply@vimeo.com>
    Date Tue, Apr 27, 2021 at 9 20 PM
    Subject: Your Vimeo video has been removed for copyright infringement
    To: <briantooker91@gmail.com>




                 Dear BT Productions:
                 Your video titled "Through Our Eyes" (https://vimeo.com/536022661)
                 was removed on Apr 28, 2021 in response to a takedown notice
                 submitted by ThucMinh Nguyen based on "throughoureyesmovie"
                 pursuant to the Digital Millennium Copyright Act (“DMCA”)

                 Why did this happen?
                 We removed your video because a third party claims that your video infringes its
                 copyright The DMCA require Vimeo to remove allegedly infringing content upon receipt
                 of a valid takedown notice.

                 Who submitted this takedown?
                 The takedown notice was sent by:
                 Copyright Holder ThucMinh Nguyen
                 Address: 10216 Park Cir E City, State, and Zip: Cupertino, CA 95014
                 Phone number: (408) 890-0354
                 Email address: Thucminh.n@gmail.com

                 Can I challenge this removal?
                 If you believe that the third party claim was mistaken, you may challenge it by filing a
                 counter-notification form, available here: https://vimeo.com/dmca#counter_notification.
                 Please read our full DMCA policy for more information on the counter-notification process.



https://mail.google.com/mail/u/2?ik=53d0404b3e&view=pt&search=all&permthid=thread-f%3A1698256678020142923&simpl=msg-f%3A16982566780…   1/2
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                                                                                              infringement

                 Alternately, you may contact the copyright holder (or representative) directly and ask them
                 to withdraw their claim.

                 Will anything happen to my Vimeo account status?
                 This takedown will count as a copyright “strike” against your account. If you receive three
                 unresolved copyright strikes, we will disable your account under our repeat infringer
                 policy: https://vimeo.com/dmca#repeat_infringer.

                 You can review any copyright strikes your account receives here:
                 https://vimeo.com/settings/videos/dmca.

                 You can also learn more about dealing with DMCA strikes in our Help Center here:
                 https://help.vimeo.com/hc/en-us/sections/203914978-DMCA

                 We strongly suggest that you carefully review the remaining videos in your account to
                 make sure there are no videos that may infringe upon the rights of others. If you are in
                 doubt as to whether a particular video infringes upon another’s rights, you should remove
                 it. Finally, you should ensure that all future videos you upload do not infringe any other
                 person’s rights.

                 Sincerely,<br />Vimeo, Inc.




                                       If you wish to unsubscribe, or change your notification settings: click here.


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                                                                 Terms | Privacy Policy


    --
    -Brian Tooker- www.briantooker.com




https://mail.google.com/mail/u/2?ik=53d0404b3e&view=pt&search=all&permthid=thread-f%3A1698256678020142923&simpl=msg-f%3A16982566780…   2/2
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              EXHIBIT H
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              EXHIBIT I
      Case 8:22-cv-02130-JWH-DFM
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                                                                     to your Vimeo DMCAPage
                                                                                        claim 54 of 58 Page ID #:1058



                                                                                  ThucMinh Nguyen <thucminh.n@gmail.com>



  Response to your Vimeo DMCA claim
  Vimeo <no-reply@vimeo.com>                                                                         Tue, Apr 27, 2021 at 9:20 PM
  Reply-To: Vimeo <dmca@vimeo.com>
  To: Thucminh.n@gmail.com




                Dear THUCMINH NGUYEN:
                We are writing in response to the Digital Millennium Copyright Act
                (“DMCA”) takedown notice that you provided to us (the "Notice").

                Please note that, as of the date hereof, Vimeo, Inc. has:
                - Removed or disabled access to the material on Vimeo that you identified in the Notice;
                - Where such material formerly appeared on Vimeo, posted a statement that Vimeo has
                removed uch material a a re ult of a third party notification claiming that uch material i
                infringing; and
                - Notified the persons that posted the material in question that Vimeo has removed or
                disabled access to such material as a result of a third-party notification claiming that such
                material i infringing

                Thi letter, and the action taken a de cribed herein, do not and hall not con titute or be
                construed as an admission of liability or wrongdoing whatsoever on our part, including any
                infringement (direct, contributory or vicarious) by us of any intellectual property or other
                rights, and do not constitute and shall not be deemed to constitute any waiver, release or
                impairment of any kind of any of our right available to u at law or in equity, all of which
                are hereby expressly reserved.

                Furthermore, this letter, and the actions taken as described herein do not constitute, and
                shall not be construed as, an agreement or course of dealing by us to in the future take
                any action or refrain from taking any action.

                We trust that this concludes this matter.

                Very truly yours,
                Vimeo, Inc




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      Case 8:22-cv-02130-JWH-DFM
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              EXHIBIT J
      Case
9/18/21,       8:22-cv-02130-JWH-DFM Gmail
         4:37 PM                      Document          75
                                           - Your listing isn’t Filed
                                                                following07/26/23       Page 57 Item
                                                                          policy: VeRO Unauthorized of 58
                                                                                                       PolicyPage ID #:1061



                                                                                                 Fred K <fknotebook@gmail.com>



  Your listing isn’t following policy: VeRO Unauthorized Item Policy
  1 me    age

  no.reply@ebay.com <no.reply@ebay.com>                                                              Wed, Apr 28, 2021 at 12:49 AM
  To: fred@kosterfilms.com




    Your li ting i n’t following policy VeRO Unauthorized Item Policy


    Hello kosterfilms-llc,


       Your listing didn't follow our VeRO Unauthorized Item Policy.. Unauthorized
       copies or counterfeits are illegal and not allowed on eBay


       What activity didn't follow the policy

         More specific details are provided below.


       What you need to do ne t

       Items removed for this policy cannot be relisted. Please ensure that your
       future listings are for authentic items only. For these items, they should be
       described accurately and completely, so buyers know that it is an authentic
       item


       What is the policy


       - Your listing was reported by ThucMinh Nguyen for violating their copyright..
       eBay’s Verified Rights Owner (VeRO) program offers intellectual property
       rights owner(s) a way to report listings that they believe infringe on their
       right
       - Unauthorized copies of copyrighted material are illegal, and not allowed on
       eBay
       - If you believe a mistake has been made, you will need to contact the rights
       owner directly If the right owner approve your appeal, plea e have them
       contact us directly to reinstate your listing(s)
       You can send an email to:
       thucminh.n@gmail.com




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      Case
9/18/21,       8:22-cv-02130-JWH-DFM Gmail
         4:37 PM                      Document          75
                                           - Your listing isn’t Filed
                                                                following07/26/23       Page 58 Item
                                                                          policy: VeRO Unauthorized of 58
                                                                                                       PolicyPage ID #:1062


       How this affects your account

       - Listings that don't follow this policy have been ended.
       - We have credited all associated fees except for payments processing fees
       and the final value fee for your listing(s).
       - Other than actions previously communicated to you in prior emails, no
       further actions are being placed on your account..


       Why we have this policy


       This policy helps to ensure that eBay users trust our marketplace, and
       comply with the law.



       More information and help

       https://www.ebay.com/help/policies/listing-policies/selling-policies/intellectual-
       property-vero-program?id=4349


       Listings that don't follow policy

       124697125524 - Through Our Eyes - The Vietnam War (Premiere DVD)
       Presale-shipment date May 14




       We appreciate your understanding.

    Thanks,
    eBay

    Please don't reply to this message. It was sent from an address that doesn't accept incoming email.

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